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 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   OPERATING ENGINEERS’ HEALTH AND                            Case No.
     WELFARE TRUST FUND FOR NORTHERN
12   CALIFORNIA; DAN REDING and JAMES E.                        COMPLAINT
     MURRAY, Trustees;
13
     PENSION TRUST FUND FOR OPERATING
14   ENGINEERS; DAN REDING and JAMES E.
     MURRAY, Trustees;
15
     PENSIONED OPERATING ENGINEERS’
16   HEALTH AND WELFARE TRUST FUND; DAN
     REDING and JAMES E. MURRAY, Trustees;
17
     OPERATING ENGINEERS AND PARTICIPATING
18   EMPLOYERS PRE-APPRENTICE, APPRENTICE
     AND JOURNEYMEN AFFIRMATIVE ACTION
19   TRAINING FUND; DAN REDING and JAMES E.
     MURRAY, Trustees;
20
     OPERATING ENGINEERS LOCAL UNION NO. 3
21   VACATION, HOLIDAY AND SICK PAY TRUST
     FUND; DAN REDING and JAMES E. MURRAY,
22   Trustees; and
23
     OPERATING ENGINEERS LOCAL 3 HEAVY
24   AND HIGHWAY TRUST,

25                  Plaintiffs,

26          v.

27   KINGSBOROUGH ATLAS TREE SURGERY,
     INC., a California Corporation,
28
                                                        1
     COMPLAINT
     Case No.
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 1
                    Defendant.
 2

 3                                                    Parties

 4          1.      The Operating Engineers’ Health and Welfare Trust Fund for Northern California (which

 5   includes the Assistance & Recovery Program, Inc.) (“Health Fund”); Pension Trust Fund for Operating

 6   Engineers (which includes the Pension Plan for the Pension Trust Fund for Operating Engineers, and the

 7   Operating Engineers Annuity Plan) (“Pension Plan”); Pensioned Operating Engineers’ Health and

 8   Welfare Trust Fund (“Pensioned Health Fund); Operating Engineers and Participating Employers Pre-

 9   apprentice, Apprentice and Journeymen Affirmative Action Training Fund (“Affirmative Action

10   Training Fund”); and the Operating Engineers Local Union No. 3 Vacation, Holiday and Sick Pay Trust

11   Fund (which includes the Operating Engineers Local Union No. 3 Vacation, Holiday and Sick Pay Trust

12   Administration Fund) (“Vacation Fund”) (collectively referred to hereinafter as the “Trust Funds”), are

13   employee benefit plans as defined in the Employee Retirement Income Security Act of 1974 (“ERISA”)

14   § 3(3), 29 U.S.C. § 1002(3). The Trust Funds and their fiduciaries are together referred to herein as

15   “ERISA Plaintiffs” or “Plaintiffs.” Dan Reding and James E. Murray are Co-Chairmen of the Joint

16   Boards of Trustees of ERISA Plaintiffs with authority to act on behalf of all Trustees.

17          2.      The Operating Engineers Local 3 Heavy And Highway Trust Is a Trust established under

18   the Labor Management Relations Act (“LMRA”), 302(c)(9), 29 U.S.C. § 186(c)(9).

19          3.      Kingsborough Atlas Tree Surgery, Inc., a California corporation, is an employer by virtue

20   of ERISA § 3(5), 29 U.S.C. § 1002(5), and NLRA § 2(2), 29 U.S.C. § 152(2), 29 U.S.C. § 152(2).

21                                                  Jurisdiction

22          4.      Jurisdiction exists in this Court over the claims asserted by ERISA Plaintiffs by virtue of

23   ERISA § 502, 29 U.S.C. § 1132, in that ERISA Plaintiffs seek to enforce the provisions of ERISA and

24   the terms of their plans, seek to enjoin the acts and practices which violate ERISA, seek equitable relief

25   to redress such violations, and seek all other appropriate relief under ERISA.

26          5.      Jurisdiction also exists in this Court over all the claims by virtue of Labor Management

27   Relations Act (“LMRA”) § 301, 29 U.S.C. § 185, in that ERISA Plaintiffs seek to enforce the terms and

28   conditions of a valid Bargaining Agreement.
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 1
              6.      To the extent jurisdiction over any claim does not exist under ERISA or the LMRA,
 2
     supplemental jurisdiction exists in this Court over such claims by virtue of 29 U.S.C. § 1367 in that they
 3
     arise out of a common nucleus of operative facts that form the basis of the federal claims asserted
 4
     herein, each of which has a substantial ground in federal jurisdiction.
 5
                                                             Venue
 6
              7.      Venue is conferred upon this Court by ERISA § 502, 29 U.S.C. § 1132. Where an action
 7
     is brought under ERISA § 502 in a district court of the United States, it may be brought at Plaintiffs’
 8
     discretion, in the district where the plan is administered, where the breach took place, or where a
 9
     defendant resides or may be found, and process may be served in any other district where a defendant
10
     resides or may be found. ERISA Plaintiffs’ Trust Funds are administered in this district at their principal
11
     place of business in Alameda, California. Thus, jurisdiction and venue are properly grounded with this
12
     Court.
13
              8.      Venue exists in this Court with respect to the claims under LMRA § 301(a), 29 U.S.C. §
14
     185, as this Court has jurisdiction over the parties, as the Union maintains its principal place of business
15
     in this district, its duly authorized officers or agents are engaged in representing employee members in
16
     this district, and the claims arise in this district.
17
                                                  Intradistrict Assignment
18
              9.      The basis for assignment of this action to this Court’s Oakland Division is that all of the
19
     events and omissions giving rise to Plaintiffs’ claims occurred in the County of Alameda, where ERISA
20
     Plaintiffs’ Funds and the Bargained Plans are administered, and where Defendant therefore failed to
21
     fulfill its statutory and contractual obligations to Plaintiffs.
22
                                                  Bargaining Agreements
23
              10.     Defendant Kingsborough Atlas Tree Surgery, Inc. (“Defendant” or “Kingsborough
24
     Atlas”) initially entered into an Independent Northern California Construction Agreement (“Independent
25
     Agreement”) with the Operating Engineers Local Union No. 3 of the International Union of Operating
26
     Engineers, AFL-CIO (“Union”). Further, Defendant, by and through its representative, United
27
     Contractors (“UCON”) fka Engineering and Utility Contractors Association (“EUCA”), entered into the
28
                                                               3
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 1
     Master Agreement for Northern California between UCON, Associated General Contractors of
 2
     California, Inc., Industrial Contractors, UMIC, Inc., Northern Alliance of Engineering Contractors and
 3
     the Union (“Master Agreement”), requiring employer contributions to Plaintiffs’ Funds, to the Union for
 4
     union dues, and to the Bargained Plans more fully described in the Master Agreement. The Independent
 5
     Agreement and Master Agreement are referred to herein as the “Bargaining Agreements.” The
 6
     Bargaining Agreements, which incorporates the terms of the Trust Agreements establishing the Trust
 7
     Funds (“Trust Agreements”), require Defendants to provide employer contributions to Plaintiffs’ Trust
 8
     Funds, to the Union for union dues, and to the other plans more fully described in the Bargaining
 9
     Agreement. ERISA Plaintiffs are third-party beneficiaries of the Bargaining Agreement.
10
            11.    Under the terms of the Bargaining Agreements and Trust Agreements incorporated
11
     therein, Defendant is required to pay certain contributions to: the Operating Engineers’ Vacation and
12
     Holiday Pay Plan; Operating Engineers Market Preservation Trust Fund, California Alliance for Jobs,
13
     Construction Industry Force Account, Industry Stabilization Fund (together referred to herein as the
14
     “Bargained Plans”) and dues to the Union. Plaintiffs’ Boards of Trustees have been authorized to
15
     collect and distribute monies due to the Bargained Plans as well as dues due to the Union under the
16
     Bargaining Agreements and Trust Agreements.
17
            12.    Under the Bargaining Agreements and Trust Agreements, which are incorporated into the
18
     Bargaining Agreements and made binding on Defendant, Defendant is required to regularly pay to
19
     ERISA Plaintiffs, the Bargained Plans, and the Union, certain sums of money, the amounts of which are
20
     determined by the hours worked by Defendant’s employees. Contributions are due on the fifteenth
21
     (15th) day of the month following the month in which hours were worked, and are considered
22
     delinquent if not received by the twenty-fifth (25th) day of that month. Defendants are also required,
23
     pursuant to the Bargaining and Trust Agreements, to pay liquidated damages in the amount of ten
24
     percent (10%) for each delinquent contribution, but in the amount of twenty percent (20%) for each
25
     delinquent contribution which is the subject of litigation. Moreover, the Bargaining and Trust
26
     Agreements provide that interest accrues on delinquent contributions at the rates reasonably set by the
27
     Trustees from the date they become delinquent, which is the twenty-sixth (26th) day of the month in
28
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     which payment was due, until paid in full.
 2
            13.     The Bargaining and Trust Agreements further require Defendant to maintain time records
 3
     or time cards, and to permit an authorized Trust Fund representative to examine such records of
 4
     Defendant as are necessary to determine whether Defendant has made full payment of all sums owed to
 5
     ERISA Plaintiffs. Should an audit of Defendant’s records reveal Defendant has failed to provide full and
 6
     prompt payment of all sums due to Plaintiffs, Defendant must reimburse Plaintiffs for the amounts due,
 7
     including audit fees, in addition to any other obligations pursuant to the Bargaining and Trust
 8
     Agreements.
 9
                                                       Facts
10
            14.     Defendant has failed and refused to make payment for the amounts found due on an audit
11
     of Defendant’s payroll records for the period from January 1, 2014 through December 31, 2017.
12
            15.     Defendant has also failed and refused to report and pay contributions for any work
13
     performed by its employees during August 2019. Liquidated damages and interest are owed to Plaintiffs
14
     for any unpaid contributions owed for this period, as well as for prior late paid contributions for hours
15
     worked during the months of June 2018, September 2018, October 2018, and July 2019.
16
            16.     Plaintiffs are also entitled to recover any and all other contributions, and all liquidated
17
     damages and interest on delinquent contributions not specified above, found due on timecards, audit, or
18
     otherwise, including estimated contributions for any months Defendant fails to report to Plaintiffs,
19
     through the time of Judgment. Plaintiffs reserve the right to conduct a further audit to determine whether
20
     there are any additional amounts due from Defendant.
21
                                    FIRST CAUSE OF ACTION
22       For Audit Payment, Payment of Delinquent Contributions, Interest, Liquidated Damages,
                             Attorneys’ Fees and Costs Against Defendant
23
            17.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 16, above.
24
            18.     Defendant has a contractual duty to timely pay the required contributions to Plaintiffs and
25
     the Bargained Plans, and to timely pay dues to the Union, pursuant to the Bargaining Agreements and
26
     Trust Agreements. Defendant also has a contractual duty under the Bargaining Agreements, and Trust
27
     Agreements to permit an audit of its records to determine whether it is making full and prompt payment
28
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 1
     of all sums required to be paid by it to Plaintiffs, and to pay Plaintiffs all amounts found due as a result
 2
     of an audit, including audit fees.
 3
               19.   In addition, Defendant has a statutory duty to timely make the required payments to
 4
     Plaintiffs under ERISA § 515, 29 U.S.C. § 1145, and LMRA § 301(a).
 5
               20.   By failing to make the required payments to Plaintiffs, Defendant breached the
 6
     Bargaining Agreements and Trust Agreements and is in violation of ERISA § 515, 29 U.S.C. § 1145,
 7
     and LMRA § 301(a).
 8
               21.   Defendant’s failure and refusal to pay the required amounts found by audit, and
 9
     liquidated damages and interest on late-paid contributions, was at all times, and still is, willful.
10
     Defendant continues to breach the Bargaining Agreements, and incorporated Trust Agreements by
11
     failing to pay all amounts owed as alleged. Said refusal is unjustified and done with knowledge and
12
     intent.
13
               22.   ERISA Plaintiffs are without an adequate remedy at law and will suffer continuing and
14
     irreparable injury, loss and damage unless Defendant is ordered specifically to perform all obligations
15
     required on Defendant’s part to be performed under ERISA, 29 U.S.C. §§ 1101-1381, the LMRA, 29
16
     U.S.C. §§ 141-197, and the Bargaining Agreements and Trust Agreements, and are restrained from
17
     continuing to refuse to perform as required thereunder.
18
               23.   This Court is authorized to issue injunctive relief based on the traditional standard. As set
19
     forth above, ERISA Plaintiffs have a strong likelihood of success on the merits. There is the possibility
20
     that ERISA Plaintiffs’ Trust Funds and their participants will suffer irreparable injuries. The balance of
21
     hardships and advancement of public interest favor ERISA Plaintiffs.
22
               24.   This Complaint does not in any manner relate to statutory withdrawal liability that may or
23
     may not be assessed against Defendant. ERISA Plaintiffs expressly reserve the right to pursue any such
24
     withdrawal liability claims against Defendant as provided by ERISA Plaintiffs’ Plan Documents, Trust
25
     Agreements, and the law.
26
                                                        Prayer
27
               WHEREFORE, Plaintiffs pray as follows:
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 1
             1.       For a judgment against Defendant as follows:
 2
                      (a)    Any unpaid contributions, due at time of Judgment, including those specified
 3
     above as well as any other contributions determined as due by audit, timecards, or otherwise, including
 4
     estimated contributions for any months Defendants fail to report to Plaintiffs, pursuant to ERISA §
 5
     502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A);
 6
                             i.       To ERISA Plaintiffs and the Bargained Plans, in accordance with ERISA
 7
     § 502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A) and the Bargaining Agreements;
 8
                             ii.      To the Union in accordance with the Bargaining Agreements.
 9
                      (b)    Liquidated damages on all late-paid and unpaid contributions in an amount
10
     provided for under the Bargaining and Trust Agreements, and with respect to ERISA Plaintiffs, ERISA
11
     § 502(g)(2)(c), 29 U.S.C. § 1132(g)(2)(c).
12
                      (c)    Interest on all late-paid and unpaid contributions at the rates set in accordance
13
     with the Bargaining Agreements, the Trust Agreements, and ERISA § 502(g)(2)(B), 29 U.S.C. §
14
     1132(g)(2)(B).
15
             2.       Plaintiffs’ reasonable attorneys’ fees and costs of this action, including any audit fees, in
16
     accordance with ERISA § 502(g)(2)(D) and (E), 29 U.S.C. § 1132(g)(2)(D) and (E); and in accordance
17
     with the Bargaining Agreements for all Bargained Plans; and with LMRA § 301, 29 U.S.C. § 185, for all
18
     Plaintiffs.
19
             3.       For an order,
20
                      (a)    requiring that Defendant comply with its obligations to Plaintiffs under the terms
21
     of the Bargaining Agreement and the Trust Agreements;
22
                      (b)    enjoining Defendant from violating the terms of those documents and of ERISA;
23
     and
24
                      (c)    enjoining Defendant from disposing of any assets until said terms have been
25
     complied with, and from continuation or operation of Defendant’s business until said terms have been
26
     complied with.
27
             4.       That the Court retain jurisdiction of this case pending compliance with its orders.
28
                                                            7
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 1
           5.      For such other and further relief as the Court may deem just and proper.
 2
     DATED: November 19, 2019                          SALTZMAN & JOHNSON LAW CORPORATION
 3

 4                                               By:                            /S/
                                                       Tino X. Do
 5                                                     Attorneys for Operating Engineers’ Health And
                                                       Welfare Trust Fund, et al.
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